Case 8:25-cr-00006-LKG   Document 6   Filed 01/27/25   Page 1 of 4




                                                               ____FILED___ENTERED
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                                                                3:10 pm, Jan 27 2025
                                                               ATGREENBELT
                                                               CLERK,U.S.DISTRICTCOURT
                                                               DISTRICTOFMARYLAND
                                                                        M.G.
                                                               BY______________Deputy    
Case 8:25-cr-00006-LKG   Document 6   Filed 01/27/25   Page 2 of 4
Case 8:25-cr-00006-LKG   Document 6   Filed 01/27/25   Page 3 of 4
Case 8:25-cr-00006-LKG   Document 6   Filed 01/27/25   Page 4 of 4
